                                                                                       FILED
                                                                                         Clerk
                                                                                     District Court
 1                                                                                  JUN 25 2024
 2                                                         for the Northern Mariana Islands
                                                           By________________________
 3                          IN THE UNITED STATES DISTRICT COURT (Deputy Clerk)
                            FOR THE NORTHERN MARIANA ISLANDS
 4

 5    UNITED STATES OF AMERICA,                                     CASE No. 1:24-cr-00014

 6            Plaintiff,
                                                                 ORDER RE: MEDIA ACCESS ON
 7                   v.                                                 JUNE 26, 2024

 8
      JULIAN PAUL ASSANGE,
 9
               Defendant.
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            The Federal Rules of Criminal Procedure prohibit “the taking of photographs in the
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     courtroom during judicial proceedings or the broadcasting of judicial proceedings from the
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     courtroom.” Fed. R. Crim. P. 53 (emphasis added). Therefore, there will be no public audio or
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     video streaming of any court proceedings in this case. Cameras, video equipment, photographs,
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     and recordings (audio and video) are prohibited within the courthouse unless authorized by a
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     judicial officer. LR 83.2. After the conclusion of all proceedings in the courtroom, the Jury
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     Assembly Room located on the first floor will be made available as a “press room” for logistical
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     support services to all news organizations and to allow for any press conference by either party. In
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     accordance with my authority pursuant to LR 83.2, members of the media may enter the courthouse
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     with cameras and/or audio-and video equipment for use only at any post-hearing press conference
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     by the parties in the Jury Assembly Room on the first floor. Photographs and recordings (audio
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     and video) are prohibited in all other public areas in the courthouse at any other time. Any violation
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 1   of these rules and this order may subject the violator to contempt proceedings and the imposition

 2   of a fine.

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             IT IS SO ORDERED this 25th day of June 2024.
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                                                         RAMONA V. MANGLONA
 7                                                       Chief Judge

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